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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION

    UNITED STATES OF AMERICA,

                       Plaintiff,
                                                     CASE NO. 2:25-PO-00043
           V.
                                                     MAGISTRATE JUDGE JOLSON

    Thomas T. Terry,

                       Defendant.




                                          ORDER

       Upon motion ofthe United States, andthe Court being duly advised inthe premises.
IT IS HEREBYORDEREDthat this case be DISMISS.


                                                  s/Kimberl A. Jolson
                                                 KIMBERLY A. JOLSON
                                                 United States Magistrate Judge

5/8/2025
DATE
